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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION

MICHAEL MCCOY,                     §
                                   §
     Plaintiff,                    §
                                   §
VS.                                §                          CIVIL ACTION NO. SA-21-CV-877-FB
                                   §
NEWREZ LLC FKA NEW PENN FINANCIAL, §
LLC d/b/a SHELLPOINT MORTGAGE      §
SERVICING; JAMES STAVOPOULOS, and  §
SECURE ONE CAPITAL CORPORATION     §
                                   §
     Defendants.                   §


         ORDER GRANTING SECOND UNOPPOSED MOTION FOR EXTENSION OF
             TIME TO RESPOND TO DEFENDANTS’ MOTION TO DISMISS

        Before the Court is the Second Unopposed Motion for Extension of Time to Respond to

 Defendants’ Motion to Dismiss filed on February 16, 2022 (docket #25). Because Plaintiff’s counsel did

 not make an appearance in this case until January 13, 2022, Plaintiff seeks an extension of time until March

 3, 2022, to file his response the Motion to Dismiss Plaintiff’s First Amended Complaint. The Court finds

 the unopposed motion has merit and should be granted.

        Accordingly, IT IS HEREBY ORDERED that the Second Unopposed Motion for Extension of

 Time to Respond to Defendants’ Motion to Dismiss (docket #25) is GRANTED such that Plaintiff shall

 have, as requested, until Thursday, March 3, 2022, to file a response, if any, to the Motion to Dismiss

 Plaintiff’s First Amended Complaint filed on February 3, 2022 (docket #22).

        It is so ORDERED.

        SIGNED this 24th day of February, 2022.


                                             _________________________________________________
                                             FRED BIERY
                                             UNITED STATES DISTRICT JUDGE
